Case 1:23-cv-00780-CFC Document 13-8 Filed 08/28/23 Page 1 of 17 PageID #: 125




                        EXHIBIT 8
Case 1:23-cv-00780-CFC Document 13-8 Filed 08/28/23 Page 2 of 17 PageID #: 126




      Sari M. Alamuddin
      Partner
      +1.312.324.1158
      sari.alamuddin@morganlewis.com



      June 2, 2023


      SERVICE VIA EMAIL

      Sheri Eisner
      Senior Vice President, General Counsel
      JAMS

      Re:      Twitter Arbitrations - Contractually Required Fee Sharing

      Dear Ms. Eisner,

               There are approximately 2,000 demands against X Corp. as successor in interest to
      Twitter, Inc. (“Twitter”) pending with JAMS.1 To date, JAMS has been issuing all non-Case
      Management Fee invoices to Twitter only, ostensibly per Standard No. 6 from JAMS Policy on
      Employment Arbitration Minimum Standards of Procedural Fairness (“Minimum Standards”).
      However, Standard No. 6 is merely a default rule (superseded by the parties’ contract) that simply
      seeks to ensure that “access to arbitration must not be precluded by the employee’s inability to
      pay any costs or by the location of the arbitration.” Upon information and belief, the Claimants in
      these cases are able to bear the costs of arbitration. Indeed, in most jurisdictions, it is lawful for
      arbitration costs to be apportioned equally between the parties to an arbitration unless a claimant
      can show that they face such high costs that they are “effectively precluded from vindicating” their
      claims. See, e.g., Musnick v. King Motor Co. of Fort Lauderdale, 325 F.3d 1255, 1260 (11th Cir.
      2003).

              Likewise, the unambiguous terms of the Dispute Resolution Agreement (“DRA”) between
      the parties in these actions provides:

               Each party will pay the fees for his, her or its own attorneys, subject to
               any remedies to which that party may later be entitled under applicable
               law, However, in all cases where required by law, the Company will pay
               the Arbitrator’s and arbitration fees. If under applicable law the
               Company is not required to pay all of the Arbitrator’s and/or
               arbitration fees, such fee(s) will be apportioned between the
               parties in accordance with said applicable law, and any disputes




  1
       Nearly all of these demands have been brought by the four law firms copied on this
      correspondence.




                                                          Morgan, Lewis & Bockius LLP

                                                          110 North Wacker Drive
                                                          Chicago, IL 60606-1511             +1.312.324.1000
                                                          United States                      +1.312.324.1001
Case 1:23-cv-00780-CFC Document 13-8 Filed 08/28/23 Page 3 of 17 PageID #: 127




   Sheri Eisner
   June 2, 2023
   Page 2

           in that regard will be resolved by the Arbitrator. See Exhibits A-C,
           Dispute Resolution Agreements, ¶ 6 (emphasis added).2

            The agreement between the parties requires that arbitration fees be apportioned between
   the parties in accordance with applicable law and makes clear that Twitter “is not required to pay
   all of the Arbitrator’s and/or arbitration fees” unless the applicable jurisdiction’s law so requires.
   Moreover, any dispute regarding fee sharing must be raised with individual arbitrators for
   resolution. Based on our review to date, the following states in which demands against Twitter
   have been filed do not require Twitter to “pay all of the Arbitrator’s and/or arbitration fees:


                           Arizona                       Colorado
                           District of Columbia          Florida
                           Georgia                       Illinois
                           Massachusetts                 Michigan
                           Minnesota                     Missouri
                           New Jersey                    New York
                           North Carolina                Oklahoma
                           Pennsylvania                  Texas
                           Washington                    Wisconsin3

           Therefore, all non-Case Management arbitration fees should be apportioned equally among
   the parties in any of the above-mentioned jurisdictions.4 If a claimant disagrees with the fee-




   2
    These exhibits contain an exemplar DRA for a claimant represented by three of the four law firms
   copied on this correspondence. The DRAs submitted with Outten & Golden’s demands are
   password protected and therefore not included, but they contain identical language, in relevant
   part.
   3
     See, e.g., Shankle v. B-G Maintenance Mgmt. of Colorado, Inc., 163 F.3d 1230 (10th Cir. 1999)
   (Colorado and Oklahoma); Musnick v. King Motor Co. of Fort Lauderdale, 325 F.3d 1255 (11th
   Cir. 2003) (Florida and Georgia); Bekele v. Lyft, Inc., 918 F.3d 181 (1st Cir. 2019)
   (Massachusetts); Livingston v. Assocs. Fin., Inc., 339 F.3d 553 (7th Cir. 2003) (Illinois and
   Wisconsin); Faber v. Menard, Inc., 367 F.3d 1048 (8th Cir. 2004) (Missouri and Minnesota);
   Bradford v. Rockwell Semiconductor Systems, Inc., 238 F.3d 549 (4th Cir. 2001) (North
   Carolina); Blair v. Scott Specialty Gases, 283 F.3d 595 (3d Cir. 2002) (New Jersey and
   Pennsylvania); Klein v. Nabors Drilling USA L.P., 710 F.3d 234 (5th Cir. 2013) (Texas); Clark v.
   Renaissance W., L.L.C., 232 Ariz. 510 (2013) (Arizona); Andresen v. Intepros Fed., Inc., 240 F.
   Supp. 3d 143(D.D.C. 2017) (District of Columbia); Rembert v. Ryan's Family Steak Houses, Inc.,
   235 Mich. App. 118 (1999) (Michigan); Credit Suisse First Boston Corp. v. Pitofsky, 4 N.Y.3d 149
   (2005) (New York); Mendez v. Palm Harbor Homes, Inc., 111 Wn. App. 446 (2002)
   (Washington).
   4
     Fee-splitting should apply to any future demands filed in other jurisdictions where fee-splitting is
   lawful.
Case 1:23-cv-00780-CFC Document 13-8 Filed 08/28/23 Page 4 of 17 PageID #: 128




   Sheri Eisner
   June 2, 2023
   Page 3

   sharing, they have a contractual right to raise a fee dispute in these jurisdictions with individual
   arbitrators, who will resolve the dispute according to applicable law.5

            For these reasons, Twitter requests that JAMS apportion all non-Case Management fee
   invoices equally among the parties to an arbitration in any jurisdiction where the law does not
   require that Twitter cover all arbitration fees and costs.

            Further, Twitter has agreed to arbitrate certain demands to date solely to allow case
   administration to proceed in these mass arbitrations. Any such agreement does not constitute a
   waiver of Twitter’s contractual rights under the DRA with respect to fees, and Twitter reserves the
   right to enforce the DRA in existing cases and any future cases.



   Sincerely,



   /s/



   Sari M. Alamuddin

   SMA
   c: Dixon Diab & Chambers LLP
      Outten & Golden LLP
      Lichten & Liss-Riordan, P.C.
      Kamerman, Uncyk, Soniker & Klein, P.C.




   5
     JAMS’ “Notice to all Parties” issued upon case initiation similarly contemplates that parties may
   take issue with JAMS’ Minimum Standards and, in those cases, the issue will be directed to the
   arbitrator, once appointed, for further review and consideration.
Case 1:23-cv-00780-CFC Document 13-8 Filed 08/28/23 Page 5 of 17 PageID #: 129




                           Exhibit A
Case 1:23-cv-00780-CFC Document 13-8 Filed 08/28/23 Page 6 of 17 PageID #: 130



                                DISPUTE RESOLUTION AGREEMENT

   This Dispute Resolution Agreement is a contract and covers important issues relating to your
   rights. lt is your responsibility to read it and understand it. You are free to seek assistance from
   independent advisors of your choice outside the Company or to refrain from doing so if that is your
   choice.

   1. How This Agreement Applies

   This Agreement is governed by the Federal Arbitration Act, 9 U.S.C. § 1 et seq. and evidences a
   transaction involving commerce. If the FAA is found not to apply, then this Agreement is enforceable
   under the laws of the state in which you ("Employee") are employed at the time you enter into this
   Agreement. This Agreement applies to any dispute arising out of or related to Employee's employment
   with Twitter, Inc. or one of its affiliates, successor, subsidiaries or parent companies ("Company") or
   termination of employment, and survives after the employment relationship terminates. It can only be
   revoked or modified by a writing, signed by both you and Twitter, Inc.'s Chief Executive Officer, which
   specifically states an intent to revoke or modify this Agreement. Nothing contained in this Agreement shall
   be construed to prevent or excuse Employee or the Company from using the Company's existing internal
   procedures for resolution of complaints.

   Disputes covered by this Agreement include, without limitation, disputes arising out of or relating to
   interpretation or application of this Agreement, including the enforceability, revocability or validity of the
   Agreement or any portion of the Agreement. Except as it otherwise provides, this Agreement also applies,
   without limitation, to disputes regarding the employment relationship, terms and conditions of
   employment, trade secrets, unfair competition, compensation, breaks and rest periods, termination,
   discrimination, harassment, or retaliation, and claims arising under the Uniform Trade Secrets Act, Title
   VII of the Civil Rights Act of 1964, Americans With Disabilities Act, Age Discrimination in Employment Act,
   Family Medical Leave Act, Fair Labor Standards Act, Employee Retirement Income Security Act (except
   for claims for employee benefits under any benefit plan sponsored by the Company and covered by the
   Employee Retirement Income Security Act of 1974 or funded by insurance), Genetic Information Non -
   Discrimination Act, and state statutes, if any, addressing the same or similar subject matters, all other
   state statutory and common law claims, and any other employment-related claim.

   Except as it otherwise provides, this Agreement is intended to apply to the resolution of disputes that
   otherwise would be resolved in a court of law or before a forum other than arbitration. This Agreement
   requires all covered disputes to be resolved only by an arbitrator through final and binding arbitration and
   not by way of court or jury trial. By entering into this Agreement, the parties are waiving a trial by
   jury.

   2. Limitations On How This Agreement Applies

   This Agreement does not apply to claims for workers compensation, state disability insurance and
   unemployment insurance benefits.

   Regardless of any other terms of this Agreement, claims may be brought before and remedies awarded
   by an administrative agency if applicable law permits access to such an agency notwithstanding the
   existence of an agreement to arbitrate. Such administrative claims include, without limitation, claims or
   charges brought before the Equal Employment Opportunity Commission (www.eeoc.gov), the U.S.
   Department of Labor (www.dol.gov), the National Labor Relations Board (www.nlrb.gov), or the Office of
   Federal Contract Compliance Programs (www.dol.gov/esa/ofccp). Nothing in this Agreement shall be
   deemed to preclude or excuse a party from bringing an administrative claim before any agency in order to
   fulfill the party's obligation to exhaust administrative remedies before making a claim in arbitration.

   Disputes that may not be subject to predispute arbitration agreement as provided by the Dodd-Frank Wall
   Street Reform and Consumer Protection Act (Public Law 111-203) are excluded from the coverage of this
   Agreement.
Case 1:23-cv-00780-CFC Document 13-8 Filed 08/28/23 Page 7 of 17 PageID #: 131



                                  DISPUTE RESOLUTION AGREEMENT

   3. Selecting The Arbitrator

   The Arbitrator shall be selected by mutual agreement of the Company and the Employee. Unless the
   Employee and Company mutually agree otherwise, the Arbitrator shall be an attorney licensed to practice
   in the state in which the arbitration proceeding will be conducted or a retired federal or state judicial officer
   who presided in the state where the arbitration will be conducted. If, however, the parties fail to agree on
   an arbitrator within 30 days after the initiation of arbitration, or at the request of either party, the dispute
   shall be heard by a neutral arbitrator chosen according to the procedures found in the then-current JAMS
   Employment Arbitration Rules and Procedures ("JAMS Rules"). The JAMS Rules may be accessed at:
   https://wwwIpmsadr.comkules-employment-arbitration/. Alternatively, an Employee may obtain a copy of
   the JAMS Rules from Human Resources. The location of the arbitration proceeding shall be no more than
   45 miles from the place where the Employee reported to work for the Company, unless each party to the
   arbitration agrees in writing otherwise.

   4. Starting The Arbitration

   All claims in arbitration are subject to the same statutes of limitation that would apply in court. The party
   bringing the claim must demand arbitration in writing and deliver the written demand by hand or first class
   mail to the other party within the applicable statute of limitations period. The demand for arbitration shall
   include identification of the parties, a statement of the legal and factual basis of the claim(s), and a
   specification of the remedy sought. Any demand for arbitration made to the Company shall be provided to
   the attention of the Company's Legal Department, Twitter, Inc., 1355 Market Street, Suite 900, San
   Francisco, CA 94103. The arbitrator shall resolve all disputes regarding the timeliness or propriety of the
   demand for arbitration. A party may apply to a court of competent jurisdiction for temporary or preliminary
   injunctive relief in connection with an arbitrable controversy, but only upon the ground that the award to
   which that party may be entitled may be rendered ineffectual without such provisional relief.

    5. How Arbitration Proceedings Are Conducted

    Employee and the Company agree to bring any claim in arbitration before Judicial Arbitration and
    Mediation Services ("JAMS"), pursuant to the then-current JAMS Rules. In arbitration, the parties will
    have the right to conduct adequate civil discovery, bring dispositive motions, and present witnesses and
    evidence to present their cases and defenses, and any disputes in this regard shall be resolved by the
    Arbitrator. Discovery and conduct of the arbitration hearing shall be governed by the JAMS Rules
    applicable to discovery and arbitration hearing procedures.

    You and the Company agree to bring any dispute in arbitration on an individual basis only, and
    not on a class, collective, or private attorney general representative action basis. Employee and the
    Company agree that any arbitration will be limited to the claims between Employee and the Company
    individually. Employee acknowledges and agrees that Employee and the Company are each waiving the
    right to participate as a plaintiff or class member in any purported class action, collective action or
    representative action proceeding ("Class Action Waiver"). This Class Action Waiver shall not apply to
    California Private Attorney General Act claims brought against the Company to the extent a Class Action
    Waiver is not legally enforceable as to those claims. Notwithstanding any other provision of this
    Agreement or the JAMS Rules, disputes regarding the scope, applicability, enforceability or validity of the
    Class Action Waiver may be resolved only by a civil court of competent jurisdiction and not by an
    arbitrator. In any case in which: (1) the claim is filed as a class, collective, or representative action and (2)
    there is a final judicial determination that the Class Action Waiver is unenforceable as to any claims, the
    class, collective, and/or representative action on such claims must be litigated in a civil court of competent
    jurisdiction, but the Class Action Waiver shall be enforced in arbitration on an individual basis as to all
    other claims to the fullest extent possible and the claims to be litigated in court shall be stayed pending
    the completion of the arbitration on the arbitrable claims.
Case 1:23-cv-00780-CFC Document 13-8 Filed 08/28/23 Page 8 of 17 PageID #: 132


                                 DISPUTE RESOLUTION AGREEMENT

   6. Paying For The Arbitration

   Each party will pay the fees for his, her or its own attorneys, subject to any remedies to which that party
   may later be entitled under applicable law. However, in all cases where required by law, the Company will
   pay the Arbitrator's and arbitration fees. If under applicable law the Company is not required to pay all of
   the Arbitrator's and/or arbitration fees, such fee(s) will be apportioned between the parties in accordance
   with said applicable law, and any disputes in that regard will be resolved by the Arbitrator.

   7. The Arbitration Hearing And Award

   The parties will arbitrate their dispute before the Arbitrator, who shall confer with the parties regarding the
   conduct of the hearing and resolve any disputes the parties may have in that regard. The Arbitrator shall
   apply substantive law as applicable to the claims, and may award any party any remedy to which that
   party is entitled under applicable law, but such remedies shall be limited to those that would be available
   to a party in his or her individual capacity in a court of law for the claims presented to and decided by the
   Arbitrator; no remedies that otherwise would be available to an individual in a court of law will be forfeited
   by virtue of this Agreement. Unless otherwise agreed by the parties in writing, the Arbitrator will issue a
   decision or award in writing, stating the essential findings of fact and conclusions of law, within 30 days
   after the date of closing of the arbitration hearing or the completion of post-hearing briefing, whichever is
   later. Except as may be permitted or required by law, as determined by the Arbitrator, neither a party nor
   an Arbitrator may disclose the existence, content, or results of any arbitration hereunder without the prior
   written consent of all parties. A court of competent jurisdiction shall have the authority to enter a judgment
   upon the award made pursuant to the arbitration.

   8. An Employee's Right To Opt Out Of Arbitration

   Arbitration is not a mandatory condition of Employee's employment at the Company, and
   therefore an Employee may submit a form stating that the Employee wishes to opt out and not be
   subject to this Agreement. The Employee must submit a signed and dated statement on a "Dispute
   Resolution Agreement Opt Out Form" ("Form") that can be obtained from the Company's Human
   Resources Department at hretwitter.com. In order to be effective, the signed and dated Form must be
   returned to the Human Resources Department within 30 days of the Employee's receipt of this
   Agreement. An Employee who timely opts out as provided in this paragraph will not be subject to any
   adverse employment action as a consequence of that decision and may pursue available legal remedies
   without regard to this Agreement. Should an Employee not opt out of this Agreement within 30 days of the
   Employee's receipt of this Agreement, continuing the Employee's employment constitutes mutual
   acceptance of the terms of this Agreement by Employee and the Company. An Employee has the right to
   consult with counsel of the Employee's choice concerning this Agreement.

    9. Non -Retaliation

   An employee will not be subject to retaliation if he or she exercises his or her right to assert claims under
   this Agreement. If any Employee believes that he or she has been retaliated against by anyone at the
   Company, the Employee should immediately report this to the Human Resources Department.

    10. Enforcement Of This Agreement

    This Agreement is the full and complete agreement relating to the formal resolution of covered disputes.
    Except as stated in paragraph 5, above, in the event any portion of this Agreement is deemed
    unenforceable, the remainder of this Agreement will be enforceable. If the Class Action Waiver, Collective
    Action Waiver or Private Attorney General Waiver is deemed to be unenforceable, the Company and
    Employee agree that this Agreement is otherwise silent as to any party's ability to bring a class,
    collective or representative action in arbitration. Nothing in this Agreement modifies the at-will nature of
Case 1:23-cv-00780-CFC Document 13-8 Filed 08/28/23 Page 9 of 17 PageID #: 133



                              DISPUTE RESOLUTION AGREEMENT

   Employee's employment with the Company.


   AGREED:




   Leslie Berland, Head of People

   TWITTER, INC.




   AGREED:

   EMPLOYEE NAME PRINTED
                                    Sarah Asse nti

                                    Sarah- ditssetrir;
   EMPLOYEE SIGNATURE




   Date:
                                    Oct 1, 2018
Case 1:23-cv-00780-CFC Document 13-8 Filed 08/28/23 Page 10 of 17 PageID #: 134




                           Exhibit B
Case 1:23-cv-00780-CFC Document 13-8 Filed 08/28/23 Page 11 of 17 PageID #: 135




                                   DISPUTE RESOLUTION AGREEMENT


This Dispute Resolution Agreement is a contract and covers important issues relating to your rights. It is
your responsibility to read it and understand it. You are free to seek assistance from independent advisors of
your choice outside the Company or to refrain from doing so if that is your choice.

You can choose to opt out of this Agreement - you have 30 days to opt out.


 1. How This Agreement Applies
This Agreement is governed by the Federal Arbitration Act, 9 U.S.C. § 1 et seq. and evidences a transaction
involving commerce. If the FAA is found not to apply, then this Agreement is enforceable under the laws of the state
in which you (“Employee”) are employed at the time you enter into this Agreement. This Agreement applies to any
dispute arising out of or related to Employee's employment with Twitter, Inc. or one of its affiliates, successor,
subsidiaries or parent companies ("Company") or termination of employment, and survives after the employment
relationship terminates. It can only be revoked or modified by a writing, signed by both you and Twitter, Inc.’s Chief
Executive Officer, which specifically states an intent to revoke or modify this Agreement. Nothing contained in this
Agreement shall be construed to prevent or excuse Employee or the Company from using the Company's existing
internal procedures for resolution of complaints.

Disputes covered by this Agreement include, without limitation, disputes arising out of or relating to interpretation or
application of this Agreement, including the enforceability, revocability or validity of the Agreement or any portion of
the Agreement. Except as it otherwise provides or required by law, this Agreement also applies, without limitation, to
disputes regarding the employment relationship, terms and conditions of employment, trade secrets, unfair
competition, compensation, breaks and rest periods, termination, discrimination, harassment, or retaliation, and
claims arising under the Uniform Trade Secrets Act, Title VII of the Civil Rights Act of 1964, Americans With
Disabilities Act, Age Discrimination in Employment Act, Family Medical Leave Act, Fair Labor Standards Act,
Employee Retirement Income Security Act (except for claims for employee benefits under any benefit plan
sponsored by the Company and covered by the Employee Retirement Income Security Act of 1974 or funded by
insurance), Genetic Information Non-Discrimination Act, and state statutes, if any, addressing the same or similar
subject matters, all other state statutory and common law claims, and any other employment-related claim.

Except as it otherwise provides, this Agreement is intended to apply to the resolution of disputes that otherwise
would be resolved in a court of law or before a forum other than arbitration. This Agreement requires all covered
disputes to be resolved only by an arbitrator through final and binding arbitration and not by way of court or jury
trial. By entering into this Agreement, the parties are waiving a trial by jury.

2. Limitations On How This Agreement Applies
This Agreement does not apply to claims for workers compensation, state disability insurance and unemployment
insurance benefits.

Regardless of any other terms of this Agreement, claims may be brought before and remedies awarded by an
administrative agency if applicable law permits access to such an agency notwithstanding the existence of an
agreement to arbitrate. Such administrative claims include, without limitation, claims or charges brought before the
Equal Employment Opportunity Commission (www.eeoc.gov) the U.S. Department of Labor (www.dol.gov) the
National Labor Relations Board (www.nlrb.gov), or the Office of Federal Contract Compliance Programs
(www.dol.gov/esa/ofccp). Nothing in this Agreement shall be deemed to preclude or excuse a party from bringing an
administrative claim before any agency in order to fulfill the party's obligation to exhaust administrative remedies
before making a claim in arbitration.

 Disputes that may not be subject to predispute arbitration agreement as provided by the Dodd-Frank Wall Street
 Reform and Consumer Protection Act (Public Law 111-203) are excluded from the coverage of this Agreement.




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Case 1:23-cv-00780-CFC Document 13-8 Filed 08/28/23 Page 12 of 17 PageID #: 136




3. Selecting The Arbitrator
The Arbitrator shall be selected by mutual agreement of the Company and the Employee. Unless the Employee and
Company mutually agree otherwise, the Arbitrator shall be an attorney licensed to practice in the state in which the
arbitration proceeding will be conducted or a retired federal or state judicial officer who presided in the state where
the arbitration will be conducted. If, however, the parties fail to agree on an arbitrator within 30 days after the
initiation of arbitration, or at the request of either party, the dispute shall be heard by a neutral arbitrator chosen
according to the procedures found in the then-current JAMS Employment Arbitration Rules and Procedures (“JAMS
Rules”). The JAMS Rules may be accessed at: https://www.iamsadr.com/rules-emplovment-arbitration/.
Alternatively, an Employee may obtain a copy of the JAMS Rules from Human Resources. The location of the
arbitration proceeding shall be no more than 45 miles from the place where the Employee reported to work for the
Company, unless each party to the arbitration agrees in writing otherwise.

4. Starting The Arbitration
All claims in arbitration are subject to the same statutes of limitation that would apply in court. The party bringing the
claim must demand arbitration in writing and deliver the written demand by hand or first class mail to the other party
within the applicable statute of limitations period. The demand for arbitration shall include identification of the
parties, a statement of the legal and factual basis of the claim(s), and a specification of the remedy sought. Any
demand for arbitration made to the Company shall be provided to the attention of the Company's Legal Department,
Twitter, Inc., 1355 Market Street, Suite 900, San Francisco, CA 94103. The arbitrator shall resolve all disputes
regarding the timeliness or propriety of the demand for arbitration. A party may apply to a court of competent
jurisdiction for temporary or preliminary injunctive relief in connection with an arbitrable controversy, but only upon
the ground that the award to which that party may be entitled may be rendered ineffectual without such provisional
 relief.

5. How Arbitration Proceedings Are Conducted
Employee and the Company agree to bring any claim in arbitration before Judicial Arbitration and Mediation
Services (“JAMS”), pursuant to the then-current JAMS Rules. In arbitration, the parties will have the right to
conduct adequate civil discovery, bring dispositive motions, and present witnesses and evidence to present their
cases and defenses, and any disputes in this regard shall be resolved by the Arbitrator. Discovery and conduct of
the arbitration hearing shall be governed by the JAMS Rules applicable to discovery and arbitration hearing
procedures.

You and the Company agree to bring any dispute in arbitration on an individual basis only, and not on a
class, collective, or private attorney general representative action basis. Employee and the Company agree
that any arbitration will be limited to the claims between Employee and the Company individually. Employee
acknowledges and agrees that Employee and the Company are each waiving the right to participate as a plaintiff or
class member in any purported class action, collective action or representative action proceeding (“Class Action
Waiver”). This Class Action Waiver shall not apply to California Private Attorney General Act claims brought against
the Company to the extent a Class Action Waiver is not legally enforceable as to those claims. Notwithstanding any
other provision of this Agreement or the JAMS Rules, disputes regarding the scope, applicability, enforceability or
validity of the Class Action Waiver may be resolved only by a civil court of competent jurisdiction and not by an
arbitrator. In any case in which: (1) the claim is filed as a class, collective, or representative action and (2) there is a
final judicial determination that the Class Action Waiver is unenforceable as to any claims, the class, collective,
and/or representative action on such claims must be litigated in a civil court of competent jurisdiction, but the Class
Action Waiver shall be enforced in arbitration on an individual basis as to all other claims to the fullest extent
possible and the claims to be litigated in court shall be stayed pending the completion of the arbitration on the
arbitrable claims.

6. Paying For The Arbitration
Each party will pay the fees for his, her or its own attorneys, subject to any remedies to which that party may later
be entitled under applicable law. However, in all cases where required by law, the Company will pay the Arbitrator's
and arbitration fees. If under applicable law the Company is not required to pay all of the Arbitrator's and/or
arbitration fees, such fee(s) will be apportioned between the parties in accordance with said applicable law, and any
disputes in that regard will be resolved by the Arbitrator.




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Case 1:23-cv-00780-CFC Document 13-8 Filed 08/28/23 Page 13 of 17 PageID #: 137




 7. The Arbitration Hearing And Award
The parties will arbitrate their dispute before the Arbitrator, who shall confer with the parties regarding the conduct
of the hearing and resolve any disputes the parties may have in that regard. The Arbitrator shall apply substantive
law as applicable to the claims, and may award any party any remedy to which that party is entitled under
applicable law, but such remedies shall be limited to those that would be available to a party in his or her individual
capacity in a court of law for the claims presented to and decided by the Arbitrator; no remedies that otherwise
would be available to an individual in a court of law will be forfeited by virtue of this Agreement. Unless otherwise
agreed by the parties in writing, the Arbitrator will issue a decision or award in writing, stating the essential findings
of fact and conclusions of law, within 30 days after the date of closing of the arbitration hearing or the completion of
post-hearing briefing, whichever is later. Except as may be permitted or required by law, as determined by the
Arbitrator, neither a party nor an Arbitrator may disclose the existence, content, or results of any arbitration
hereunder without the prior written consent of all parties. A court of competent jurisdiction shall have the authority to
enter a judgment upon the award made pursuant to the arbitration.

8. An Employee's Right To Opt Out Of Arbitration
Arbitration is not a mandatory condition of Employee’s employment at the Company, and therefore an
Employee may submit a form stating that the Employee wishes to opt out and not be subject to this
Agreement. The Employee must submit a signed and dated statement on a "Dispute Resolution Agreement Opt
Out Form" ("Form") that can be obtained from the Company's Human Resources Department at
hrlegaldocs@twitter.com. In order to be effective, the signed and dated Form must be returned to the Human
Resources Department within 30 days of the Employee's receipt of this Agreement. An Employee who timely opts
out as provided in this paragraph will not be subject to any adverse employment action as a consequence of that
decision and may pursue available legal remedies without regard to this Agreement. Should an Employee not opt
out of this Agreement within 30 days of the Employee's receipt of this Agreement, continuing the Employee's
employment constitutes mutual acceptance of the terms of this Agreement by Employee and the Company. An
Employee has the right to consult with counsel of the Employee's choice concerning this Agreement.

9. Non-Retaliation
An employee will not be subject to retaliation if he or she exercises his or her right to assert claims under this
Agreement. If any Employee believes that he or she has been retaliated against by anyone at the Company, the
Employee should immediately report this to the Human Resources Department.

 10. Enforcement Of This Agreement
This Agreement is the full and complete agreement relating to the formal resolution of covered disputes. Except as
stated in paragraph 5, above, in the event any portion of this Agreement is deemed unenforceable, the remainder of
this Agreement will be enforceable. If the Class Action Waiver, Collective Action Waiver or Private Attorney General
Waiver is deemed to be unenforceable, the Company and Employee agree that this Agreement is otherwise silent as
to any party's ability to bring a class, collective or representative action in arbitration. Nothing in this Agreement
modifies the at-will nature of Employee’s employment with the Company.

AGREED:




TWITTER, INC.


By signing below, I acknowledge and agree to the terms of this Dispute Resolution Agreement, and confirm I
am aware of my right to opt out per the terms of this Agreement:

 EMPLOYEE NAME PRINTED

 EMPLOYEE SIGNATURE

 Date:


                                                         *
rev.NOV2018                                                                                                             3
Case 1:23-cv-00780-CFC Document 13-8 Filed 08/28/23 Page 14 of 17 PageID #: 138




                            Exhibit C
Case 1:23-cv-00780-CFC Document 13-8 Filed 08/28/23 Page 15 of 17 PageID #: 139




                                   DISPUTE RESOLUTION AGREEMENT


This Dispute Resolution Agreement is a contract and covers important issues relating to your rights. It is
your responsibility to read it and understand it. You are free to seek assistance from independent advisors of
your choice outside the Company or to refrain from doing so if that is your choice.

You can choose to opt out of this Agreement - you have 30 days to opt out.


 1. How This Agreement Applies
This Agreement is governed by the Federal Arbitration Act, 9 U.S.C. § 1 et seq. and evidences a transaction
involving commerce. If the FAA is found not to apply, then this Agreement is enforceable under the laws of the state
in which you (“Employee”) are employed at the time you enter into this Agreement. This Agreement applies to any
dispute arising out of or related to Employee's employment with Twitter, Inc. or one of its affiliates, successor,
subsidiaries or parent companies ("Company") or termination of employment, and survives after the employment
relationship terminates. It can only be revoked or modified by a writing, signed by both you and Twitter, lnc.’s Chief
Executive Officer, which specifically states an intent to revoke or modify this Agreement. Nothing contained in this
Agreement shall be construed to prevent or excuse Employee or the Company from using the Company's existing
internal procedures for resolution of complaints.

Disputes covered by this Agreement include, without limitation, disputes arising out of or relating to Interpretation or
application of this Agreement, including the enforceability, revocability or validity of the Agreement or any portion of
the Agreement. Except as it otherwise provides or required by law, this Agreement also applies, without limitation, to
disputes regarding the employment relationship, terms and conditions of employment, trade secrets, unfair
competition, compensation, breaks and rest periods, termination, discrimination, harassment, or retaliation, and
claims arising under the Uniform Trade Secrets Act, Title VII of the Civil Rights Act of 1964, Americans With
Disabilities Act, Age Discrimination in Employment Act, Family Medical Leave Act, Fair Labor Standards Act,
Employee Retirement Income Security Act (except for claims for employee benefits under any benefit plan
sponsored by the Company and covered by the Employee Retirement Income Security Act of 1974 or funded by
insurance), Genetic Information Non-Discrimination Act, and state statutes, if any, addressing the same or similar
subject matters, all other state statutory and common law claims, and any other employment-related claim.

Except as it otherwise provides, this Agreement is intended to apply to the resolution of disputes that otherwise
would be resolved in a court of law or before a forum other than arbitration. This Agreement requires all covered
disputes to be resolved only by an arbitrator through final and binding arbitration and not by way of court or jury
trial. By entering into this Agreement, the parties are waiving a trial by jury.

2. Limitations On How This Agreement Applies
This Agreement does not apply to claims for workers compensation, state disability insurance and unemployment
insurance benefits.

Regardless of any other terms of this Agreement, claims may be brought before and remedies awarded by an
administrative agency if applicable law permits access to such an agency notwithstanding the existence of an
agreement to arbitrate. Such administrative claims include, without limitation, claims or charges brought before the
Equal Employment Opportunity Commission (www.eeoc.aov1 the U.S. Department of Labor (www.dol.aov1 the
National Labor Relations Board (www.nlrb.aov1. or the Office of Federal Contract Compliance Programs
(www.dol.aov/esa/ofccDl. Nothing in this Agreement shall be deemed to preclude or excuse a party from bringing an
administrative claim before any agency in order to fulfill the party's obligation to exhaust administrative remedies
before making a claim in arbitration.

 Disputes that may not be subject to predispute arbitration agreement as provided by the Dodd-Frank Wall Street
 Reform and Consumer Protection Act (Public Law 111-203) are excluded from the coverage of this Agreement.




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Case 1:23-cv-00780-CFC Document 13-8 Filed 08/28/23 Page 16 of 17 PageID #: 140




3. Selecting The Arbitrator
The Arbitrator shall be selected by mutual agreement of the Company and the Employee. Unless the Employee and
Company mutually agree otherwise, the Arbitrator shall be an attorney licensed to practice in the state in which the
arbitration proceeding will be conducted or a retired federal or state judicial officer who presided in the state where
the arbitration will be conducted. If, however, the parties fail to agree on an arbitrator within 30 days after the
Initiation of arbitration, or at the request of either party, the dispute shall be heard by a neutral arbitrator chosen
according to the procedures found in the then-current JAMS Employment Arbitration Rules and Procedures (“JAMS
Rules”). The JAMS Rules may be accessed at: https://www.iamsadr.com/rules-emplovment-arbitration/.
Alternatively, an Employee may obtain a copy of the JAMS Rules from Human Resources. The location of the
arbitration proceeding shall be no more than 45 miles from the place where the Employee reported to work for the
Company, unless each party to the arbitration agrees in writing otherwise.

4. Starting The Arbitration
All claims In arbitration are subject to the same statutes of limitation that would apply In court. The party bringing the
claim must demand arbitration in writing and deliver the written demand by hand or first class mail to the other party
within the applicable statute of limitations period. The demand for arbitration shall Include Identification of the
parties, a statement of the legal and factual basis of the claim(s), and a specification of the remedy sought. Any
demand for arbitration made to the Company shall be provided to the attention of the Company's Legal Department,
Twitter, Inc., 1355 Market Street, Suite 900, San Francisco, CA 94103. The arbitrator shall resolve all disputes
regarding the timeliness or propriety of the demand for arbitration. A party may apply to a court of competent
jurisdiction for temporary or preliminary injunctive relief in connection with an arbitrable controversy, but only upon
the ground that the award to which that party may be entitled may be rendered ineffectual without such provisional
relief.

5. How Arbitration Proceedings Are Conducted
Employee and the Company agree to bring any claim in arbitration before Judicial Arbitration and Mediation
Services (“JAMS”), pursuant to the then-current JAMS Rules. In arbitration, the parties will have the right to
conduct adequate civil discovery, bring dispositive motions, and present witnesses and evidence to present their
cases and defenses, and any disputes in this regard shall be resolved by the Arbitrator. Discovery and conduct of
the arbitration hearing shall be governed by the JAMS Rules applicable to discovery and arbitration hearing
procedures.

You and the Company agree to bring any dispute in arbitration on an individual basis only, and not on a
class, collective, or private attorney general representative action basis. Employee and the Company agree
that any arbitration will be limited to the claims between Employee and the Company individually. Employee
acknowledges and agrees that Employee and the Company are each waiving the right to participate as a plaintiff or
class member in any purported class action, collective action or representative action proceeding (“Class Action
Waiver”). This Class Action Waiver shall not apply to California Private Attorney General Act claims brought against
the Company to the extent a Class Action Waiver is not legally enforceable as to those claims. Notwithstanding any
other provision of this Agreement or the JAMS Rules, disputes regarding the scope, applicability, enforceability or
validity of the Class Action Waiver may be resolved only by a civil court of competent jurisdiction and not by an
arbitrator. In any case in which: (1) the claim is filed as a class, collective, or representative action and (2) there is a
final judicial determination that the Class Action Waiver is unenforceable as to any claims, the class, collective,
and/or representative action on such claims must be litigated in a civil court of competent jurisdiction, but the Class
Action Waiver shall be enforced In arbitration on an individual basis as to all other claims to the fullest extent
possible and the claims to be litigated in court shall be stayed pending the completion of the arbitration on the
arbitrable claims.

6. Paying For The Arbitration
Each party will pay the fees for his, her or its own attorneys, subject to any remedies to which that party may later
be entitled under applicable law. However, in all cases where required by law, the Company will pay the Arbitrator's
and arbitration fees. If under applicable law the Company is not required to pay all of the Arbitrator's and/or
arbitration fees, such fee(s) will be apportioned between the parties In accordance with said applicable law, and any
disputes In that regard will be resolved by the Arbitrator.




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Case 1:23-cv-00780-CFC Document 13-8 Filed 08/28/23 Page 17 of 17 PageID #: 141




7. The Arbitration Hearing And Award
The parties will arbitrate their dispute before the Arbitrator, who shall confer with the parties regarding the conduct
of the hearing and resolve any disputes the parties may have In that regard. The Arbitrator shall apply substantive
law as applicable to the claims, and may award any party any remedy to which that party Is entitled under
applicable law, but such remedies shall be limited to those that would be available to a party In his or her Individual
capacity in a court of law for the claims presented to and decided by the Arbitrator; no remedies that otherwise
would be available to an Individual in a court of law will be forfeited by virtue of this Agreement. Unless otherwise
agreed by the parties In writing, the Arbitrator will Issue a decision or award In writing, stating the essential findings
of fact and conclusions of law, within 30 days after the date of closing of the arbitration hearing or the completion of
post-hearing briefing, whichever Is later. Except as may be permitted or required by law, as determined by the
Arbitrator, neither a party nor an Arbitrator may disclose the existence, content, or results of any arbitration
hereunder without the prior written consent of all parties. A court of competent jurisdiction shall have the authority to
enter a judgment upon the award made pursuant to the arbitration.

8. An Employee's Right To Opt Out Of Arbitration
Arbitration is not a mandatory condition of Employee’s employment at the Company, and therefore an
Employee may submit a form stating that the Employee wishes to opt out and not be subject to this
Agreement. The Employee must submit a signed and dated statement on a "Dispute Resolution Agreement Opt
Out Form" ("Form") that can be obtained from the Company's Human Resources Department at
hrleaaldocs@twitter.com. In order to be effective, the signed and dated Form must be returned to the Human
Resources Department within 30 days of the Employee's receipt of this Agreement. An Employee who timely opts
out as provided In this paragraph will not be subject to any adverse employment action as a consequence of that
decision and may pursue available legal remedies without regard to this Agreement. Should an Employee not opt
out of this Agreement within 30 days of the Employee's receipt of this Agreement, continuing the Employee's
employment constitutes mutual acceptance of the terms of this Agreement by Employee and the Company. An
Employee has the right to consult with counsel of the Employee's choice concerning this Agreement.

9. Non-Retaliation
An employee will not be subject to retaliation If he or she exercises his or her right to assert claims under this
Agreement. If any Employee believes that he or she has been retaliated against by anyone at the Company, the
Employee should immediately report this to the Human Resources Department.

 10. Enforcement Of This Agreement
This Agreement Is the full and complete agreement relating to the formal resolution of covered disputes. Except as
stated in paragraph 5, above, in the event any portion of this Agreement Is deemed unenforceable, the remainder of
this Agreement will be enforceable. If the Class Action Waiver, Collective Action Waiver or Private Attorney General
Waiver is deemed to be unenforceable, the Company and Employee agree that this Agreement is otherwise silent as
to any party's ability to bring a class, collective or representative action in arbitration. Nothing in this Agreement
modifies the at-will nature of Employee’s employment with the Company.

AGREED:




Leslie Berland, Head of People
TWITTER, INC.


By signing below, I acknowledge and agree to the terms of this Dispute Resolution Agreement, and confirm I
am aware of my right to opt out per the terms of this Agreement:

 EMPLOYEE NAME PRINTED
                                    Kourtney Traina
                                   tCcHytrhl&U TrAÙtOs
 EMPLOYEE SIGNATURE                KourtneyTrainatNov20,2020 14:15 PST)


 Date:                              Nov 20,2020

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